       Case 3:21-cv-00242-WBV-SDJ             Document 274-1       12/07/22 Page 1 of 5




                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA


 ABBY OWENS, et al.
      Plaintiffs                                   CIVIL ACTION NO. 3:21-cv-00242

 v.
                                                   JUDGE WENDY B. VITTER
                                                   MAG. JUDGE SCOTT D. JOHNSON
 LOUISIANA STATE UNIVERSITY, et al.
      Defendants.


        PLAINTIFFS’ SUPPLEMENTAL MEMORANDUM IN RESPONSE TO
      DEFENDANT JENNIE STEWART’S SUPPLEMENTAL MEMORANDUM IN
        SUPPORT OF DEFENDANT’S RULE 12(b)(6) MOTION TO DISMISS

        Plaintiffs respectfully submit this brief memorandum in support of their ex parte motion to

respond to the arguments raised by Defendant Stewart in the memorandum entered on November

28, 2022 (ECF No. 260), in support of her Rule 12(b)(6) motion to dismiss (ECF No. 199), which

is still pending.

        On February 14, 2022, Stewart filed a motion to dismiss all claims against her, based on

qualified immunity. Stewart raises two arguments in her recently filed supplemental memorandum,

highlighting recent case law. First, Stewart raises Doe, et al. v. Board of Supervisors of Louisiana

State University and Agricultural and Mechanical College, et al., No. 3:21-cv-00564, 2022 WL

16701930 (E.D. La. Nov. 3, 2022) (hereinafter Doe v. LSU), a recent decision in which Section

1983 claims against Stewart were dismissed. Second, Stewart raises Thomas, et al. v. Board of

Regents of the University of Nebraska, et al., No. 4:20-cv-03081, 2022 WL 1491102 (D. Neb. May

11, 2022) (hereinafter Thomas v. UNL), which is a Title IX case brought by certain of Plaintiffs’

attorneys in the U.S. District Court for the District of Nebraska in which Section 1983 claims were




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          Case 3:21-cv-00242-WBV-SDJ                     Document 274-1   12/07/22 Page 2 of 5




dismissed.1 Third, Stewart accuses the Court of running afoul of Carswell v. Camp, 37 F.4th 1062

(5th Cir. 2022), which held that district courts must rule on motions to dismiss based on qualified

immunity at early stages of litigation.

           First, Doe v. LSU is irrelevant in the present matter. The Court analyzed the Section 1983

issue in that case by first noting that Title IX does not preclude use of Section 1983 to combat

gender discrimination in schools. Doe v. LSU, 2022 WL 16701930 at *47 (citing Fitzgerald v.

Barnstable School Committee, 555 U.S. 246, 250 (2009)). The Court found that precedent does,

however, bar a plaintiff from stating a claim under Section 1983 “based on an underlying violation

of Title IX” because it would give a plaintiff rights–allowing suits against individuals–that would

be unavailable under Title IX. Id. at *48. The Court dismissed the plaintiffs’ Section 1983 claims

because the plaintiffs “nest[ed] a Title IX claim into a § 1983 claim and claim[ed] that Title IX is

the substantive right violated,” because it could allow for remedies unavailable for the underlying

claim. Id. Importantly, however, the Court did not address and did not prohibit parallel or

concurrent Title IX and Section 1983 claims, which are permissible as they do not allow access to

new remedies within each other. See Wilkerson v. University of North Texas, 223 F.Supp.3d 592

(E.D. Tex. 2016) (citing Fitzgerald, 555 U.S. at 256).

           This commingling of claims is not an issue in the present case. Plaintiffs here base their

Section 1983 claims clearly outside their Title IX claims. Count V bases a Section 1983 claim in

the First Amendment. See Amended Complaint ¶ 1002-58. Count VI bases a Section 1983 claim

under the Fourteenth Amendment for denial of equal protection due to discrimination on the basis

of sex. See Amended Complaint ¶ 1059-85. Count VII bases a Section 1983 claim under the

Fourteenth Amendment for denial of substantive and procedural due process. See Amended



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    A copy of the decision is attached hereto as Exhibit 1.


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       Case 3:21-cv-00242-WBV-SDJ                   Document 274-1           12/07/22 Page 3 of 5




Complaint ¶ 1086-1118. All three of these Section 1983 claims are made separately from and

concurrent to the Title IX claims, which is explicitly permitted by the Supreme Court in Fitzgerald.

See Fitzgerald, 555 U.S. at 257 (stating “parallel and concurrent § 1983 claims will neither

circumvent required procedures nor allow access to new remedies.”) For these reasons, Plaintiffs’

Section 1983 claims should not be dismissed based on the rationale applied in Doe v. LSU.

        Second, Stewart’s brief misstates the court’s decision regarding qualified immunity in

Thomas v. UNL. In Thomas, the court did not dismiss the Section 1983 claim based on qualified

immunity.2 Rather, the court dismissed the claim because it determined that the facts alleged did

not provide a basis for finding a violation of the plaintiffs’ rights under the Equal Protection

Clause. “The plaintiffs did not establish a facial showing in their second amended complaint…

Because the plaintiffs have failed to allege any violations of a clearly established equal protection

right that goes beyond labels and conclusions, the individual defendants are entitled to qualified

immunity and any such claims are dismissed.” Thomas v. UNL at *32. This failure to plead is not

at issue in the present case; Plaintiffs have alleged violations of clearly established rights. Stewart

is therefore not entitled to dismissal based on the holding in Thomas v. UNL.

        Furthermore, if this Court wishes to consider other cases litigated by Plaintiffs’ attorneys

in the U.S. District Court for the District of Nebraska, it should also consider Doe v. Board of

Regents of the University of Nebraska et al., No 4:21-cv-03049, Memorandum and Order, ECF

No. 26 (D. Neb. Jan. 5, 2022) (hereinafter Doe v. UNL).3 In Doe v. UNL, the court specifically

determined that it was inappropriate to dismiss a Section 1983 claim against an individual based

on qualified immunity. The plaintiff in Doe v. UNL made constitutional claims against an



2
  Stewart cites Thomas v. UNL at *17-18, which discusses student-on-student sexual harassment claims under Title
IX, not qualified immunity under Section 1983.
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  A copy of the decision is attached hereto as Exhibit 2.


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        Case 3:21-cv-00242-WBV-SDJ                     Document 274-1             12/07/22 Page 4 of 5




individual–the Title IX coordinator at UNL–and the defendants argued in part that Doe failed to

state a valid claim, and if she did, that the individual defendant is entitled to qualified immunity.

Doe v. UNL at 13. The court in that case not only found that the plaintiff had alleged sufficient

facts to constitute valid substantive and procedural due process claims, but also specifically held

that the Title IX coordinator defendant was not entitled to qualified immunity. Id. at 15.

         Officials are entitled to qualified immunity unless 1) the facts alleged constitute a violation

of a constitutional or statutory right, and 2) that right was clearly established at the time of the

alleged violation, such that a reasonable official would have known that their actions were

unlawful. See id. at 15-16 (citing Johnson v. Phillips, 664 F.3d 232, 236 (8th Cir. 2011); see also

Zadeh v. Robinson, 928 F.3d 457, 463-64 (5th Cir. 2019). Applying the two-prong test, the Doe v.

UNL court found that it is “clearly established that university students have a right not to be

discriminated against or harassed on the basis of sex… [and that] a supervisory school official with

actual notice of ongoing sexual abuse against a student is required to take action to investigate and

stop the abuse.” Id. at 16 (internal citations omitted).4 The court’s evaluation in Doe v. UNL shows

that qualified immunity does not automatically insulate individuals working at federally funded

institutions from liability under Section 1983 claims that run concurrently with Title IX claims.

         Neither of Stewart’s new arguments bear on the issue before this Court. Both Title IX and

Section 1983 claims can be plead against the same defendants if they remain separate, as they do

here. Additionally, despite Stewart’s claims, the U.S. District Court for the District of Nebraska

did not dismiss defendants in either Thomas v. UNL or Doe v. UNL based on qualified immunity.




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  The court in Doe v. UNL did dismiss the plaintiff’s claim of a violation of her rights under the Equal Protection
Clause, but due to qualified immunity; instead, the court found that plaintiff did not plead sufficient facts to support
a finding that her right to equal protection had been violated. See Doe v. UNL at 20.


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       Case 3:21-cv-00242-WBV-SDJ            Document 274-1        12/07/22 Page 5 of 5




Plaintiffs respectfully ask that the Court disregard Stewart’s additional arguments for the reasons

stated above and deny Stewart’s motion to dismiss.



Respectfully submitted,

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